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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

 UNITED PARCEL SERVICE, INC.,                    §
 UNITED PARCEL SERVICE CO.,                      §
 UNITED PARCEL SERVICE GENERAL                   §
 SERVICES CO., and                               §
 UPS WORLDWIDE FORWARDING, INC.                  §
                                                 §
        PLAINTIFFS,                              §
                                                 §   CIVIL ACTION NO. 3:12-CV-561-S
                v.                               §
                                                 §
 AIR TRANSPORT INTERNATIONAL LLC                 §
                                                 §
        DEFENDANT.                               §

                                   AMENDED COMPLAINT

        For their Amended Complaint, the Plaintiffs United Parcel Service, Inc. (“UPS Inc.”),

 United Parcel Service Co. (“UPS Co.”), United Parcel Service General Services Co. (“UPS GS”),

 and UPS Worldwide Forwarding, Inc. (“UPS Worldwide”) (collectively, the “UPS Plaintiffs”),

 hereby state and allege as follows:

                                           PARTIES

        1.      Plaintiff UPS Inc. is an Ohio corporation which conducts business regularly in

 Kentucky. Its parent company is UPS Worldwide (whose own parent company is United Parcel

 Service of America, Inc. (“UPS America”)).

        2.      Plaintiff UPS Co. is a Delaware corporation which conducts business regularly in

 Kentucky. Its parent company is UPS America.

        3.      Plaintiff UPS GS is a Delaware corporation which conducts business regularly in

 Kentucky. Its parent company is UPS America.
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        4.      Plaintiff UPS Worldwide is a Delaware corporation which conducts business

 regularly in Kentucky. Its parent company is UPS America.

        5.      Defendant Air Transport International, LLC (“ATI”) is a Nevada limited liability

 company and charter airline with a principal place of business at 2800 Cantrell Road, Little Rock,

 AR 72202, and which conducts business regularly in Kentucky.

                                 JURISDICTION AND VENUE

        6.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because this

 is a civil action in which the amount in controversy exceeds the jurisdictional minimum and there is

 complete diversity of citizenship between the parties. Further, the parties are governed by a Cargo

 Aircraft Charter Agreement wherein they consented to personal jurisdiction in Kentucky and agreed

 that the laws of the Commonwealth of Kentucky would govern the contract. (See Cargo Aircraft

 Charter Agreement (the “CACA”), attached as Ex. A, at § 8.4).

        7.      Venue is proper in this Court under 28 U.S.C. § 1441(a) in that the United States

 District Court for the Western District of Kentucky, Louisville Division, is the District Court

 embracing Jefferson County, Kentucky, the location in which the UPS Plaintiffs initially filed this

 civil action, and the District Court to which ATI removed this civil action.

                    THE CARGO AIRCRAFT CHARTER AGREEMENT

        8.      On August 11, 2005, UPS Worldwide and ATI executed the CACA, pursuant to

 which ATI, as an independent contractor, would provide UPS Worldwide with “one (1) or more

 properly crewed, maintained, insured and equipped aircraft . . . for the carriage of UPS’s freight.”

 (See CACA Preamble & § 1.1).

        9.      In Section 1.3 of the CACA, ATI agreed to provide “Complete maintenance,

 overhaul and repair of the Aircraft as necessary to keep the Aircraft in an airworthy condition.”




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        10.     Pursuant to Section 5.1 of the CACA, the CACA’s terms commenced on August 11,

 2005, and remained in effect on December 21, 2007.

        11.     ATI agreed to defend and indemnify UPS from and against any damages and any

 lawsuit arising out of its services; specifically, Section 1.4 of the CACA provides, in pertinent part:

        1.4   [ATI] hereby agrees to indemnify, defend, and release and hold harmless
              UPS and its officers, directors, agents and employees against any and all
              liabilities, claims, demands, suits, judgments, damages and losses,
              including the reasonable costs, expenses and legal fees in connection
              therewith or incident thereto, arising out of death or injury to any person
              whomsoever, including but not limited to employees of [ATI] or UPS, or
              arising out of loss of, damage to or destruction of any property whatsoever,
              including but not limited to cargo, the Aircraft and other property of UPS or
              third parties, to the extent caused by or arising out of or in any way
              connected with [ATI]’s performance of services hereunder or its
              possession, use or maintenance of Aircraft utilized to provide such services,
              excluding however injury or damage caused by the willful misconduct or gross
              negligence of UPS or its subcontractors.

 (Emphasis added).

        12.     Section 1.9 of the CACA specifies that ATI’s obligations under Section 1.4 extend to

 UPS Worldwide’s “parent United Parcel Service of America, Inc. and its affiliated companies, and

 the officers, directors, agents and employees of each of those companies.”

     THE UNDERLYING ACTION, AND THE UPS PLAINTIFFS’ TENDER TO ATI

        13.     On December 18, 2009, Plaintiffs Gary M. DeVaco and Peggy J. DeVaco (the

 “DeVacos”) initiated an action against, among others, the UPS Plaintiffs (except UPS Worldwide)

 for negligence, personal injuries, and loss of consortium in the Pennsylvania Court of Common

 Pleas of Philadelphia by virtue of a Writ of Summons and a Complaint which they filed and served

 on July 6, 2010 (the “Underlying Action”). (See Court of Common Pleas docket, attached as Ex. B).

        14.     The DeVacos alleged that Mr. DeVaco “was employed by Air Transport

 International as of December 2007” during the period “ATI contracted with UPS to transport some




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 of UPS' overflow of packaging and cargo for a short period,” that Mr. DeVaco and another ATI

 employee, Kevin Waldron, “were mechanics who were to service an ATI aircraft that was

 delivering UPS packaging and cargo” to the UPS terminal at the Philadelphia International Airport,

 and that, while Mr. DeVaco and Mr. Waldron waited in the ATI van for the arrival of the ATI

 aircraft, jet blast from a taxiing UPS Boeing 747 caused the van to turn over on its side and be

 pushed several feet, causing injury to Mr. DeVaco (the “Underlying Accident”). (DeVaco Amended

 Complaint, attached as Ex. C, at ¶¶ 39-40, 42, 50-51).

           15.   The DeVacos asserted 25 different theories against the UPS Plaintiffs’, which

 include, inter alia, the following: failure to properly escort Mr. DeVaco and failure to remain with

 Mr. DeVaco (id. at ¶ 57(a),(c)); failure to communicate to Mr. DeVaco and other ATI employees the

 taxiing and parking schedule of aircraft (id. at ¶57(d)); failure to warn Mr. DeVaco that “a UPS

 Boeing 747 Aircraft would be maneuvered, moved, stopped, and turned directly in front of him and

 his vehicle (id. at ¶ 57(e); failure to adequately monitor the movement of UPS aircraft in relation to

 the parked ATI vehicle (id. at ¶ 57(f)); and failure to adequately communicate to one another the

 risks and hazards exposed to the ATI vehicle (id. at ¶ 57 (p)).

           16.   Because the DeVacos’ claims arose out of and were connected to ATI’s performance

 of services -- e.g., maintenance -- pursuant to the CACA, by letters dated July 19, 2010, September

 16, 2010, and October 8, 2010, UPS Plaintiffs tendered their demand that, pursuant to Section 1.4 of

 the CACA, ATI defend and indemnify them from and against the DeVaco’s claims in the

 Underlying Action. (See Letters of 7/19/10, 9/16/10, 10/8/10, attached respectively as Exs. D, E,

 and F).




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  ATI RETAINS SALMON, RECCHEZZA, SINGER AND TURCHI AS COUNSEL AND
               INVESTIGATES THE UPS PLAINTIFFS’ TENDER

           17.    On September 29, 2010, George Golder, a licensed attorney who also acted in the

 capacity as Vice-President and General Counsel for ATI, forwarded UPS Plaintiffs’ October 28,

 2010 tender to ATI’s commercial insurance broker. (See 9/29/10-10/6/10 Email string, attached as

 Ex. G).

           18.    On September 30, 2010, the commercial insurance broker sent Golder’s email that

 forwarded UPS’s second tender to Chartis Aerospace Insurance Group (“Chartis”), who was the

 lead insurer for ATI. (See id.).

           19.    The commercial insurance broker also wrote to Chartis: “ATI had a minor slip and

 fall claim some time ago which AIG adjusted and you assigned Salmon, Recchezza, Singer and

 Turchi [(the “Salmon Firm”)] as counsel. Mr. Golder worked with Zach Ballard with that firm and,

 if possible, would like to have them assigned on this situation.” (Id.).

           20.    On October 4, 2010, Steve Allen, in his capacity as “Claims Attorney” and on behalf

 of Chartis wrote:

           Regarding approved panel counsel, I have also worked with Salmon, Recchezza,
           Singer & Turchi, with great results. By happenstance, I am actually meeting with Jay
           Salmon, Mark Dianno and Zachary Ballard in my office today. I highly recommend
           we retain this firm and will request they perform the customary conflict check.

 (Id.).

           21.    On October 5, 2010, Allen wrote to Jay Salmon the following:

           I have two cases for your firm and I am hoping that you can run the conflict checks
           today. The first case is the UPS matter we discussed earlier. UPS is seeking
           indemnification (under contract) from our insured, Air Transport International. The
           plaintiffs are Gary and Peggy DeVaco. The Named Defendants are UPS and City of
           Philadelphia. The suit was filed in the Philadelphia County Court of Common Pleas
           in December 2009. Plaintiffs’ counsel is Doig and Doig. Our claim number is TBD.

 (10/6/10 Email string, attached as Ex. H).



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        22.     Minutes after receiving Allen’s note, Salmon replied to Allen: “I’ve cleared the UPS

 case. Still working on the other one.” (Id.).

        23.     Allen then responded and forwarded Salmon “all the related correspondence.” (Id.).

        24.     Minutes after Allen received the note from Salmon, Allen wrote to Golder: “I have

 asked Salmon, Ricchezza, Singer and Turchi to run a conflict check. I just received word from Jay

 Salmon that there is no conflict and have retained them as counsel for this matter.” (9/29/10-10/6/10

 Email string, Ex. G).

        25.     Minutes after receiving “all the related correspondence” from Allen, Salmon wrote to

 Philip J. Meyer, another attorney employed by the Salmon Firm: “Here’s what I have.” (10/6/10

 Email string, Ex. H).

        26.     After receiving “all the related correspondence” from Salmon, approximately one

 hour later, Meyer prepared and sent the following opinion by email to Salmon:

        I reviewed the indemnification clause in the Cargo Aircraft Charter Agreement
        between UPS and ATI. Article 1.4 contains mutual indemnification agreements
        which require ATI and UPS to each defend and indemnify the other for bodily injury,
        specifically including injury to ATI's employees, “to the extent caused by or arising
        out of or in any way connected with” their respective performance of services under
        the Agreement or their possession, use or maintenance of Aircraft utilized to provide
        such services. The clauses exclude indemnification only for injury caused by the
        indemnitee's willful misconduct or gross negligence.

        Because the agreement specifically includes injuries to ATI's employees, ATI would
        not be protected by Workers Comp immunity. However, the Pennsylvania Supreme
        Court has held that the “to the extent caused by” language requires indemnification
        only for the indemnitor's share of responsibility for the plaintiffs injuries, even where
        the indemnification agreement also purports to provide indemnification for the
        indemnitee's own negligence. Greer v. City of Phila., 795 A.2d 376 (Pa. 2002).
        Therefore, a good argument can be made that, at most, ATI would be obligated to
        indemnify UPS only for ATI’S percentage share of responsibility for plaintiffs
        damages. Furthermore, because UPS is required to indemnify ATI for injuries
        caused by UPS’ operations under the Agreement, their respective indemnity
        obligations should cancel each other out. Therefore, I would recommend that ATI
        decline the tender. . . .



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 (Id.) (emphasis in original).

         27.     On October 12, 2010, Meyer prepared and forwarded to Salmon a memorandum

 titled, “Indemnification and Insurance Issues.” (10/12/10 Memo, attached as Ex. I).

         28.     In his October 12, 2010 memorandum, Meyer wrote, among other things, what is

 currently ATI’s central theory of avoiding any responsibility to defend or indemnify UPS: “There

 would be no indemnity obligation if UPS' pilot was guilty of gross negligence.” He also wrote that,

 “At most, ATI would be obligated to indemnify UPS only for ATI’s percentage share of

 responsibility for DeVaco’s damages,” and reiterated that “Therefore, I would recommend that ATI

 decline the tender at this time.” (Id.).

         29.     On October 12, 2010, Meyer, Allen, Salmon and an unknown “ATI representative”

 conducted a telephone conference regarding “contractual indemnification issues.” (Salmon Firm

 billing invoices, attached as Ex. J).

         30.     On October 19, 2010, Salmon had a conference call with Allen. (See Salmon Firm

 billing invoices).

         31.     On the same day, Salmon forwarded Meyer’s October 12, 2010 memorandum to

 Golder and Allen, and wrote “Things have changed after a review of Kentucky law.” (10/19/10-

 10/20/10 Email string, attached as Ex. K).

         32.     On October 20, 2010, Golder wrote to Salmon and Allen:

         Well done memo. Thanks. We should explore with ATI what UPS actually had to do
         under the agreement. If they were responsible for allowing ramp access to our guys
         (as a practical matter, whether stated explicitly in the agreement as their obligation
         or not), would that give us grounds for claiming that their indemnity applies?
         ....
         I don't know how hard you would want to challenge their claim that we're
         responsible for indemnifying them, but we are okay pressing that point if you feel it
         is worthwhile.




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 (Id.).
          33.   On January 18, 2011, Salmon and Allen had a meeting that lasted one-and-a-half

 hours. (See Salmon Firm billing invoices, attached as Ex. J).

          34.   The following day, at ATI’s request, ATI was permitted to conduct a site inspection

 of the subject UPS premises on January 19, 2011 in order to assist with its determination as to

 whether it would accept the UPS Plaintiffs’ tender.

          35.   According to a January 20, 2011 memorandum authored by Zachary Ballard of the

 Salmon Firm, along with Ballard himself, ATI representatives named Brian and Jim, Steve Allen,

 and Keith Bergman of Fleisher Forensics attended the January 19, 2011 site inspection. (See 1/20/11

 Memo, attached as Ex. L).

          36.   The site inspection lasted approximately five and a half hours. (See Salmon Firm

 billing invoices, attached as Ex. J).

          37.   During the January 19, 2011 site inspection, the above-listed ATI representatives,

 inter alia, viewed, inspected, photographed, and took measurements at the location where the

 Underlying Accident occurred.

          38.   After the January 19, 2011 site inspection, Ballard authored a memorandum dated

 January 21, 2011, titled “Review of Count IV of Plaintiff’s Complaint Punitive Damages against

 UPS,” which provided a detailed analysis of the DeVacos’ gross negligence allegations/punitive

 damages claims against the UPS Plaintiffs. (See 1/21/11 Memo, attached as Ex. M).

          39.   On February 1, 2011, Ballard authored a legal memorandum titled “Summary of

 Plaintiff’s Worker’s Compensation File,” which provided a detailed analysis of DeVaco’s workers

 compensation claim(s) and proceedings related to the Underlying Accident. (See 2/1/11 Memo,

 attached as Ex. N).




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           40.     On February 1, 2011, Ballard authored a second legal memorandum titled “Items to

 Be Completed,” which contained a list of 18 tasks that the Salmon Firm contemplated completing

 with respect to UPS Plaintiffs’ tender. (See Second 2/1/11 Memo, attached as Ex. O).

           41.     With no response from ATI or Chartis to the prior tenders, UPS Plaintiffs re-tendered

 their demand for defense and indemnity by letter dated February 8, 2011. (See 2/8/11 Letter,

 attached as Ex. P).

           42.     On February 10, 2011, Meyer made the following billing entry: “Legal research re:

 indemnitor’s obligation to assume indemnitee’s defense where complaint asserts claim that

 potentially falls beyond scope of indemnity agreement.” Meyer billed 3.50 hours for his legal

 research and memorandum preparation. (See Salmon bills, attached as Ex. J).

           43.     On February 11, 2011, Meyer drafted a letter to Holland & Knight addressing the

 UPS Plaintiffs’ third tender; it was never sent. (See Salmon bills, attached as Ex. J).

           44.     On February 14, 2011, Salmon wrote an email stating that “We are still considering

 the tender.” (2/14/11 Email, attached as Ex. Q).

           45.     On March 14, 2011, Meyer, Allen and Salmon had a telephone conference call

 regarding the effect of the indemnification provisions of the CACA. (See Salmon bills, attached as

 Ex. J).

           46.     On March 17, 2011, Meyer conducted additional legal research regarding

 “indemnification for negligence of indemnified party” under Kentucky law. (Id.).

                 ATI UNCONDITIONALLY ACCEPTS UPS PLAINTIFFS’ TENDER

           47.     With no response from ATI to the prior tenders, the UPS Plaintiffs again re-tendered

 their demand for defense and indemnity by letter dated April 19, 2011. (See 4/19/11 Letter, attached

 as Ex. R).




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         48.     By email from Jay Salmon dated April 25, 2011, ATI unconditionally, without any

 reservation of rights whatsoever, accepted the UPS Plaintiffs’ tender by stating: “ATI will undertake

 the defense of UPS going forward in this litigation.” (See 4/25/11 Email, attached as Ex. S).

         49.     ATI’s acceptance was made with the advice of counsel, and with knowledge of the

 underlying facts of the Underlying Action, as well as the substance of and grounds for the claims

 asserted therein.

         50.     Between the April 25, 2011 date on which ATI accepted UPS Plaintiffs’ tender and

 July 16, 2012, neither ATI nor Chartis ever sent UPS Plaintiffs a written reservation of rights under

 the CACA.

         51.     Between the April 25, 2011 date on which ATI accepted UPS Plaintiffs’ tender and

 July 16, 2012, neither ATI nor Chartis ever communicated to UPS Plaintiffs -- whether verbally or in

 writing -- that they intended to reserve any rights under the CACA.

               ATI PROVIDES SALMON FIRM TO DEFEND UPS PLAINTIFFS

         52.     ATI, in turn, provided its own counsel, the Salmon Firm, to substitute in and defend

 the UPS Plaintiffs in the Underlying Action.

         53.     Upon information and belief, the Salmon Firm’s invoices were paid for by ATI and/

 or its insurer, Chartis.

         54.     Neither ATI nor Chartis disclosed to UPS Plaintiffs the extent to which the Salmon

 Firm had advised ATI and/or Chartis regarding UPS Plaintiffs’ tender, nor did they disclose to UPS

 Plaintiffs that the Salmon Firm had provided ATI and/or Chartis with the afore-mentioned October

 12, 2010, opinion regarding the CACA’s gross-negligence exception that “There would be no

 indemnity obligation if UPS' pilot was guilty of gross negligence.”




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        55.       On May 13, 2011, the Salmon Firm entered its appearance, and jury demand, on

 behalf of UPS Plaintiffs in the Underlying Lawsuit. (See Court of Common Pleas docket, Ex. T).

        56.       From that date until August 15, 2012, the Salmon Firm served as UPS Plaintiffs’

 defense counsel in the Underlying Action and controlled UPS Plaintiffs’ defense therein.

        57.       UPS Plaintiffs relied upon ATI’s unconditional acceptance of their tender, and

 allowed the Salmon Firm complete control of their defense in the Underlying Action.

        58.       UPS Plaintiffs were greatly prejudiced by the inappropriate acts and omissions of

 the Salmon Firm, on whom UPS Plaintiffs relied at all relevant times.

        59.       In light of the CACA’s gross-negligence exception referenced in their afore-

 mentioned October 12, 2010, opinion that “There would be no indemnity obligation if UPS' pilot

 was guilty of gross negligence,” the Salmon Firm handled UPS Plaintiffs' defense and reported to

 ATI and/or Chartis in ways that improperly prejudiced the UPS Plaintiffs’ interests and furthered the

 interests of ATI and/or Chartis.

        60.       Neither ATI nor Chartis disclosed to UPS Plaintiffs that, between May 13, 2011 and

 July 17, 2012, the Salmon Firm exchanged numerous emails and letters, and had numerous

 telephone conferences and in-person conferences, with Allen of Chartis and Golder of ATI. (See

 Salmon bills, attached as Ex. J).

        61.       Neither ATI nor Chartis obtained UPS Plaintiffs’ permission for the Salmon Firm’s

 numerous communications with Allen and Golder.

        62.       On August 3, 2011, the court in the Underlying Action issued a Case Management

 Order establishing the following pertinent deadlines:

              •   Discovery completed by July 2, 2012;
              •   Defense expert reports submitted by August 6, 2012;
              •   All pre-trial motions filed by August 6, 2012;
              •   Pre-trial conference any time after October 1, 2012;


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              •   Parties ready for trial by November 5, 2012.

 (See Case Management Order of 8/3/11, attached as Ex. U).

        63.       On August 4, 2011, Ballard sent an email to UPS Plaintiffs summarizing facts

 provided to him by UPS Plaintiffs’ personnel which would have been beneficial to UPS Plaintiffs’

 defense in the Underlying Action:

              (a) Because DeVaco and Waldron had their own “SIDA” and TSA-approved badges
                  there was no UPS escort involved in this accident as the ATI “employees would have
                  been able to move throughout the UPS ramp on their own.”

              (b) “Subsequently, the ATI van was not parked in a designated parking area.”

              (c) “Additionally, ATI administers its own training in ramp safety which Plaintiff would
                  have had to complete.”

              (d) “Further, the ATI/UPS contract required that all ATI employees comply with the
                  UPS MX manual, including the safety provision pertaining to jet blast
                  recognition/avoidance and general ramp safety.”

              (e) “Therefore, the decision to park the vehicle in the accident location was made by
                  both occupants of the van as no UPS personnel were involved as escorts. No one
                  from UPS assigned that spot for ATI to park.”

              (f) “After selecting the parking spot, the two ATI employees went inside the UPS
                  Terminal, only returning to their vehicle when the B747-100 was creating jet wake,
                  the ATI employees got inside the van.”

              (g) “Plaintiff, for unexplained reasons, went to the back of the van. He was injured
                  when the truck flipped onto its side and an unsecured nitrogen bottle fell on him.”

              (h) “Failure to secure the nitrogen bottle is an OSHA violation in itself.”

 (8/4/11 Email, attached as Ex. V).

        64.       Unbeknownst to UPS Plaintiffs, on October 11, 2011, Salmon wrote a letter to

 Allen, purporting to provide “a status update in connection with [the Underlying Action].”

 (10/11/11 Letter, attached as Ex. W, at 1 & 6).

        65.       In the October 11, 2011 letter, Salmon once again noted several facts that would have

 been beneficial to UPS Plaintiffs’ defense in the Underlying Action:



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               (a) “Plaintiff was a passenger in the back of the van during the incident. An unsecured
                   nitrogen tank struck Plaintiff’s head causing severe neck and head injuries.”

               (b) “One area of interest that will require further discovery is Plaintiff’s behavior in the
                   moments before the accident. According to Quinn, eyewitnesses saw the two
                   mechanics exit their vehicle and enter the UPS facility near the B3 entrance.”

               (c) “As the UPS B747 approached, Jackie Kay saw the ATI mechanic run from the
                   maintenance facility and jump back into the their vehicle—a move that UPS
                   management believes is an indication that the mechanics knew their vehicle was not
                   parked in an appropriate area.”

               (d) “Mr. DeVaco then got into the back of the maintenance van; an area that has no
                   seats, no seatbelts and was cluttered with tools and equipment. Why Mr. DeVaco
                   chose to get into the back of the van instead of the front, like Mr. Waldron, will need
                   to be fleshed out during his deposition.”

  (Id. at 1 & 6).

         66.        Despite those favorable facts, Salmon’s letter focused on facts adverse to UPS

 Plaintiffs, painted a one-sided negative liability picture, and ultimately concluded by telling Allen

 that, “[a]t this point in our investigation, liability looks considerably unfavorable” and, ignoring

 defenses plainly available to UPS Plaintiffs, that “[a]t best, we will be able to develop some minor

 theories of comparative negligence.” (Id. at 6).

         67.        During the entire course of its representation of UPS Plaintiffs in the Underlying

 Action, the Salmon Firm did not develop any of the above-listed facts favorable to UPS Plaintiffs, or

 any available defenses.

         68.        The Salmon Firm did not engage or disclose a single liability expert on behalf of

 UPS Plaintiffs in the Underlying Action prior to the deadline for defense expert reports.

         69.        Unbeknownst to UPS Plaintiffs, on June 22, 2012, the Salmon Firm wrote another

 letter to Allen purporting to provide another “update regarding the liability picture relative to” the

 Underlying Action. (6/22/12 Letter, attached as Ex. X, at 1).




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         70.      In the letter, the Salmon Firm once again painted a one-sided negative liability

 picture, and concluded by telling Allen that the evidence of record was “extremely unfavorable” to

 UPS Plaintiffs, that it was their “opinion that a jury would find UPS liable for Mr. DeVaco’s

 accident,” and, ignoring defenses plainly available to UPS Plaintiffs, that “[a]t this point, it appears

 that UPS does not have any liability defense available.” (Id. at 1 & 11).

         71.      At Mr. DeVaco’s June 25, 2012 deposition, neither Ballard nor Salmon asked Mr.

 DeVaco about topics that could have furthered UPS Plaintiffs’ available defenses, including but not

 limited to:

               (a) The importance of securing the nitrogen tanks from movement while transporting
                   them, how the nitrogen tanks were secured in the subject ATI van, and whether Mr.
                   DeVaco had any concern over the unsecured nitrogen tanks when he was in the back
                   of the subject ATI van;

               (b) OSHA, Philadelphia International Airport and Department of Transportation rules
                   regulating transportation of nitrogen tanks;

               (c) Witness accounts that Mr. DeVaco left the shelter of the UPS building and hurried to
                   the subject ATI van;

               (d) Witness accounts regarding the obviousness of the fact that Mr. DeVaco had parked
                   in a jet blast area (e.g., his proximity to a pre-staged parking “T”);

               (e) The length of time that Mr. DeVaco was in the back of the ATI van;

               (f) Questions that would have supported a foundation for an accident reconstruction
                   expert liability opinion; or

               (g) Questions that attacked DeVaco’s credibility.

         72.      By letter dated July 17, 2012 -- 14 months and 23 days after ATI unconditionally

 accepted the UPS Plaintiffs’ tender without any reservation of rights, and more than two weeks after

 the expiration of the discovery period in the Underlying Action -- ATI lead insurer Chartis informed

 the UPS Plaintiffs that it was revoking ATI’s acceptance of the UPS Plaintiffs’ tender. (See 7/17/12

 Letter, attached as Ex. Y).




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        73.     Chartis reaffirmed the purported revocation of ATI’s acceptance of the UPS

 Plaintiffs’ tender by letter dated August 9, 2012. (See 8/9/12 Letter, attached as Ex. Z).

        74.     The grounds for revocation stated in Chartis’ letters substantially mirrored the Salmon

 Firm’s afore-mentioned October 12, 2010, opinion regarding the CACA’s gross-negligence

 exception that “There would be no indemnity obligation if UPS' pilot was guilty of gross

 negligence,” as well as the negative picture painted in the Salmon Firm’s October 11, 2011 and June

 22, 2012 “update” letters to Allen of Chartis. (Compare Letters of 10/11/12 & 6/22/12 with Letters

 of 7/17/12 & 8/9/12).

        75.     Upon Chartis’ purported revocation, upon information and belief, ATI and/or Chartis

 refused to give any settlement authority to the Salmon Firm for a mediation that was scheduled for

 August 2, 2012, and the mediation was cancelled.

        76.     By letter dated August 3, 2012, UPS Plaintiffs rejected Chartis’s purported

 revocation but, notwithstanding that rejection, by letter dated August 6, 2012 -- 15 months and 13

 days after ATI unconditionally accepted the UPS Plaintiffs’ tender without any reservation of rights,

 and over a month after the expiration of the discovery period in the Underlying Action -- ATI

 informed the UPS Plaintiffs that it was revoking its prior acceptance of their tender. By letter dated

 August 22, 2012, UPS Plaintiffs rejected ATI’s purported revocation. (See Letters of 8/3/12, 8/6/12,

 and 8/22/12 attached, respectively, as Exs. AA, BB, and CC).

        77.     By letter dated August 10, 2012, the Salmon Firm informed the UPS Plaintiffs that it

 had “been advised by Chartis that they will no longer pay for our services after Friday, August 17,”

 and, in turn, that it would file a motion to withdraw as counsel immediately after a court-ordered

 mandatory August 15, 2012 settlement conference (for which, upon information and belief, ATI




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 and/or its insurer refused to give any settlement authority to the Salmon Firm). (See 8/10/12 Letter,

 attached as Ex. DD).

         78.      Before it withdrew as counsel, in a “Settlement Conference Memorandum” dated

 August 7, 2012, the Salmon Firm declared that UPS Plaintiffs “concede that the activities of its

 pilots, marshallers and escorts contributed to the occurrence of the accident,” (see Settlement

 Conference Memorandum, attached as Ex. EE; this concession was made without UPS Plaintiffs’

 knowledge or permission.

         79.      As of the date of their initiation of this civil action, well after the close of discovery

 and mere months ahead of a trial-ready date in the Underlying Action, the UPS Plaintiffs were to

 their great prejudice faced with the revocation of a heretofore unconditional acceptance of an

 obligation to defend and indemnify them in the Underlying Action -- an acceptance upon which UPS

 Plaintiffs to their great prejudice at all relevant times relied.

         80.      Upon ATI’s revocation, the UPS Plaintiffs were required to engage defense counsel

 who was unfamiliar with the case developments over the prior 15 months, and paid defense counsel

 attorneys’ fees in the amount of $172,198.00 for approximately 590 total hours of work; both the

 number of hours worked and the total amount billed were reasonable and necessary under the

 circumstances.

         81.      After a mediation, the UPS Plaintiffs entered into a settlement of the Underlying

 Action whereby the DeVacos voluntarily dismissed their claims against UPS Plaintiffs with

 prejudice in exchange for UPS Plaintiffs’ payment of Five Million Five Hundred Thousand Dollars

 ($5,500,000); the settlement amount was reasonable. (See Confidential Settlement Release excerpt,

 attached as Ex. FF).




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        82.      On September 11, 2012, UPS Plaintiffs’ invited ATI and Chartis to attend the above-

 referenced mediation at which the above-referenced settlement of the Underlying Action was

 reached; neither did.

        83.      The UPS Plaintiffs are faced with great uncertainty and insecurity as to their rights

 under the CACA, and a controversy of justiciable nature exists between the parties which requires a

 declaration by this Court of their respective rights.

                                         COUNT I
                                  DECLARATORY JUDGMENT

        84.      The allegations contained in Paragraphs 1-83 are re-alleged and incorporated herein

 by reference.

        85.      There is an actual, justiciable controversy between the parties as to their obligations

 under the CACA and, pursuant to KRS 418.040 and/or 28 USC § 2201, the UPS Plaintiffs request

 that this Court enter a declaratory judgment that:

        (i)      That the accident upon which the Underlying Action is based -- which the DeVacos

        allege occurred during the period “ATI contracted with UPS to transport some of UPS'

        overflow of packaging and cargo for a short period” and while Mr. DeVaco waited inside an

        ATI truck in order “to service an ATI aircraft that was delivering UPS packaging and cargo”

        (DeVaco Complaint at ¶¶ 39-40, 42, 50-51) -- was caused by, arises out of, and/or is

        connected with ATI’s performance of services under the CACA;

        (ii)     That, pursuant to Section 1.4 and 1.9 of the CACA, ATI is required to indemnify and

        defend the UPS Plaintiffs in the Underlying Action and against any liability, judgment and/

        or damages incurred therein, including the reasonable costs, expenses and legal fees in

        connection therewith or incident thereto;




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        (iii)     That, by its prior unconditional acceptance of the UPS Plaintiffs’ tender of indemnity

        and defense pursuant to Section 1.4 of the CACA, without any reservation of rights

        whatsoever, and upon which the UPS Plaintiffs have relied, ATI has waived any claim,

        and/or is estopped from claiming, that it is not required to indemnify and defend the UPS

        Plaintiffs in the Underlying Action.

                                    COUNT II
                BREACH OF THE CARGO AIRCRAFT CHARTER AGREEMENT

        86.       The allegations contained in Paragraphs 1-85 are re-alleged and incorporated herein

 by reference.

        87.       By Sections 1.4 and 1.9 of the CACA, ATI is required to indemnify and defend the

 UPS Plaintiffs from and against any liabilities, claims, demands, suits, judgments, damages and

 losses, including the reasonable costs, expenses and legal fees in connection therewith or incident

 thereto, to the extent caused by or arising out of or in any way connected with ATI’s performance of

 services under the CACA; this specifically includes defense and indemnity in the Underlying Action.

        88.       But for this and other related contractual covenants and promises, the UPS Plaintiffs

 would not have entered into the CACA.

        89.       Despite its approximately 15-month-long acceptance of its obligation under Section

 1.4 of the CACA to defend and indemnify the UPS Plaintiffs in the Underlying Action, after

 discovery was complete and trial fast-approaching, ATI refused to meet that obligation.

        90.       By its refusal, ATI has breached the CACA, causing damages to the UPS Plaintiffs

 which exceed the jurisdictional threshold for this Court.

        WHEREFORE, the UPS Plaintiffs hereby pray for the following relief:

        (i)       A jury trial on all claims susceptible to a trial by jury;

        (ii)      A declaratory judgment as set forth in Count I of the Complaint;



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       (iii)   Compensatory and consequential damages totaling at least $5,500,000.00 in
               settlement monies paid and $172,198.00 in attorneys’ fees incurred in the
               Underlying Action;

       (iv)    Prejudgment interest;

       (v)     Post-judgment interest;

       (vi)    Costs and fees in pursuing defense and indemnification hereunder, including
               reasonable attorney fees.

                             Respectfully submitted,

                              /S/ Sarah M. McKenna
                             James T. Blaine Lewis
                             Sarah M. McKenna
                             DINSMORE & SHOHL LLP
                             2500 National City Tower
                             Louisville, KY 40202
                                    and
                             James H. Gordon (pro hac vice)
                             Roman T. Galas (pro hac vice)
                             ANSA ASSUNCAO, LLP
                             1600 JFK Boulevard, Suite 900
                             Philadelphia, PA 19103
                             Counsel for Plaintiffs United Parcel Service, Inc., United Parcel
                             Service Co., and United Parcel Service General Services Co., and
                             UPS Worldwide Forwarding, Inc.




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                                   CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing has been sent to the

 attorney listed below, via electronic filing, in accordance with the Federal Rules of Civil Procedure

 on this 19th day of June, 2013:

                                          Douglas B. Bates
                                   STITES & HARBISON, PLLC
                                        323 E. Court Avenue
                                           P.O. Box 946
                                   Jeffersonville, IN 47131-0946
                                    Telephone: (812) 282-7566
                                     Email: dbates@stites.com

                                        Michael E. Kleinert
                                 STITES & HARBISON, PLLC
                               400 West Market Street, Suite 1800
                                    Louisville, KY 40202-3352
                                    Telephone: (502) 587-3400
                                   Email: mkleinert@stites.com
                            Counsel for Air Transport International LLC



                                                /S/ Sarah M. McKenna
